        Case 2:16-cr-00134-DAD Document 175 Filed 08/01/17 Page 1 of 3


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 5

 6   Attorney for defendant
     GARY LOCH
 7

 8                                      UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           No. 2:16-CR-00134-KJM

12                         Plaintiff,                    STIPULATION AND [PROPOSED]
                                                         ORDER TO AMEND CONDITIONS OF
13              v.                                       RELEASE

14   GARY LOCH,

15                         Defendant.

16

17              The defendant, Gary Loch, through his undersigned counsel and the United States,

18   through its undersigned counsel, hereby agree and request that the Court amend the home

19   detention status of location monitoring to a curfew. U.S. Pretrial Services Officer Renee Basurto

20   has been consulted and prepared the attached amended special conditions of release.

21              The original special conditions of release, filed December 30, 2016, required Mr. Loch to

22   remain inside his residence at all times except for certain specified activities or with pre-approval

23   from his pretrial services officer. (Doc. 80 at ¶ 14.) The amended special conditions of release

24   will require Mr. Loch to remain inside his residence every day from 10:00 pm to 6:00 am, or as

25   adjusted by his pretrial services officer for specified activities or obligations. (Attachment at ¶

26   13.)

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28   // // //
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       Case 2:16-cr-00134-DAD Document 175 Filed 08/01/17 Page 2 of 3


 1   Date: July 31, 2017                                PHILLIP A. TALBERT
                                                        United States Attorney
 2
                                                        /s/ Richard J. Bender
 3
                                                        RICHARD J. BENDER
 4                                                      Assistant U.S. Attorney

 5

 6   Date: July 31, 2017                                /s/ WILLIAM BONHAM for
                                                        WILLIAM BONHAM
 7                                                      Counsel for defendant
                                                        GARY LOCH
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13                                              ORDER
14          IT IS SO ORDERED. The special condition of release relating to home detention status is
15   amended from location monitoring to a curfew as reflected in the attached amended special
16   conditions of release.
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     Dated: August 1, 2017
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     Case 2:16-cr-00134-DAD Document 175 Filed 08/01/17 Page 3 of 3


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 2
                      AMEDNED SPECIAL CONDITIONS OF RELEASE
 3
                                                                   Re: Loch, Gary
 4                                                                 No.: 2:16-CR-0134 KJM
                                                                   Date: July 20, 2017
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      1. You must report to and comply with the rules and regulations of the Pretrial Services Agency;
 6    2. You must reside at a location approved by the pretrial services officer and not move or absent
         yourself from this residence for more than 24 hours without the prior approval of the pretrial
 7       services officer;
 8    3. You must cooperate in the collection of a DNA sample;
      4. You must restrict your travel to Eastern District of California and the District of Oregon unless
 9
         otherwise approved in advance by the pretrial services officer;
10    5. You must not obtain a passport or other travel documents during the pendency of this case;

11    6. You must not possess, have in your residence, or have access to a firearm/ammunition, destructive
         device, or other dangerous weapon; additionally, you must provide written proof of divestment of
12       all firearms/ammunition currently under your control;
      7. You must seek and/or maintain employment and provide proof of same as requested by your
13       pretrial services officer;
14    8. You must refrain from any use of alcohol or any use of a narcotic drug or other controlled
         substance without a prescription by a licensed medical practitioner; and you must notify Pretrial
15       Services immediately of any prescribed medication(s). However, medicinal marijuana prescribed
         and/or recommended may not be used;
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      9. You must submit to drug and/or alcohol testing as approved by the pretrial services officer. You
17       must pay all or part of the costs of the testing services based upon your ability to pay, as
         determined by the pretrial services officer;
18    10. You must not associate or have any contact with co-defendants unless in the presence of counsel
          or otherwise approved in advance by the pretrial services officer;
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      11. You must report any contact with law enforcement to your pretrial services officer within 24
20        hours;
      12. You must participate in the following location monitoring program component and abide by all
21
          the requirements of the program, which will include having a location monitoring unit installed in
22        your residence and a radio frequency transmitter device attached to your person. You must comply
          with all instructions for the use and operation of said devices as given to you by the Pretrial
23        Services Agency and employees of the monitoring company. You must pay all or part of the costs
          of the program based upon your ability to pay, as determined by the pretrial services officer;
24    13. CURFEW: You must remain inside your residence every day from 10:00pm to 6:00am, or as
          adjusted by the pretrial services officer for medical, religious services, employment or court-
25        ordered obligations;
26    14. You must participate in a cognitive behavioral therapy program as directed by the pretrial services
          officer. Such programs may include group sessions led by a counselor or participation in a
27        program administered by the Pretrial Services office.

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